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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )      CRIMINAL NO. 1:18cr111
                                            )
JULIAN PAUL ASSANGE                         )
                                            )

                                   NOTICE OF APPEARANCE

       The Clerk will please enter the appearance of Assistant United States Attorney Gordon D.

Kromberg as counsel for the United States of America in the above-captioned matter.

                                     Respectfully submitted,

                                     G. Zachary Terwilliger
                                     United States Attorney


                             By:        /s/
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was filed via ECF this 11th day of

April 2019, which will send a copy of such filing (NEF) to all parties.


                                                       /s/
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